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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

BELCALIS MARLENIS ALMANZAR,                   *
                                              *
                          Plaintiff,          *
                                              *             Civil Action No.
      v.                                      *             1:19-cv-01301-WMR
                                              *
LATASHA TRANSRINA KEBE et al.,                *
                                              *
                          Defendants.         *

              DEFENDANT KEBE’S BRIEF IN SUPPORT OF
              MOTION TO FILE DOCUMENTS UNDER SEAL

      Ms. Kebe has moved this Honorable Court, pursuant to Fed. R. Civ. P. 5.2(d)

and 26(c), the parties’ Consent Protective Order (Dkt. 53), and Section II.J. to

Appendix H of this Court’s Local Rules, for an Order permitting her to file certain

documents under seal. Ms. Kebe submits the foregoing Brief in support of her

motion.

      This Court is permitted, for good cause, to shield the disclosure of confidential

information from the public record. See Fed. R. Civ. P. 26(c). “The federal district

courts derive their authority to seal or otherwise deny public access to documents or

proceedings from Rule 26(c) of the Federal Rules of Civil Procedure.” In re Estate

of Martin Luther King, Jr., Inc. v. CBS, Inc., 184 F. Supp. 2d 1353, 1362 (N.D. Ga.

2002).

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      The parties have a Consent Protective Order in this case providing for the

filing of documents under seal. (See Dkt. 53). The documents listed below contain

information designated by Plaintiff as “Confidential.” The documents listed below

are either documents designated by Plaintiff as “Confidential” pursuant to the

parties’ Consent Protective Order or Documents designated by Ms. Kebe as

“Confidential” because they contain references to, or excerpts from, documents

Plaintiff has designated “Confidential”. As Plaintiff has designated the information

as “Confidential,” it is Plaintiff’s burden to establish good cause for sealing. See

Section II.J.2.e. to Appendix H of this Court’s Local Rules.

      Ms. Kebe respectfully requests permission to file the following documents

under seal for the reasons set forth below:

      1. The following supporting documents to Kebe’s Response to Plaintiff’s

         Motion for Summary Judgment:

         a. Defendant Kebe’s Response to Plaintiff’s Statement of Material Facts

             In Support of Plaintiff’s Motion for Summary Judgment because it

             quotes directly from, or references, documents that have been

             designated as “Confidential”;




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   b. Defendant Kebe’s Brief Opposing Plaintiff’s Motion for Summary

      Judgment because it quotes directly from, or references, documents that

      have been designated as “Confidential”;

   c. Defendant Kebe’s Statement of Additional Material Facts in Support of

      Brief Opposing Plaintiff’s Motion for Summary Judgment (hereinafter

      referred to as “Kebe’s ASMF” because it quotes directly from, or

      references, documents that have been designated as “Confidential”;

   d. Exhibit A to Kebe’s ASMF: Declaration of Sadeer Sabbak (hereinafter

      referred to as “Declaration”) because it quotes directly from, or

      references, documents that have been designated as “Confidential”;

   e. Exhibit 1 to Declaration: true and correct copies of documents bates

      numbered Kebe 010-013, 015, 018, 093-100, 106-107, 127-136, 145-

      147, 187-203, 261-263, 366-367, 370, 373, 376-377, 413-319, 422,

      424, 426-428, 436-444, 4470447, and CARDI_000787 because it

      includes documents that have been designated as “Confidential”;

   f. Exhibit 2 to Declaration: excerpts from the 11/19/20 Deposition of

      Latasha Kebe because it contains Confidential information;

   g. Exhibit 3 to Declaration: excerpts from the 11/30/20 Deposition of

      Latasha Kebe because it contains Confidential information;


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         h. Exhibit 4 to Declaration: excerpts from the 11/29/20 Deposition of

            Cheick Kebe because it contains confidential information.

      For the foregoing reasons, Ms. Kebe respectfully requests that this Court grant

her motion to file documents listed above under seal.

                       CERTIFICATION AS TO FONT

      In accordance with Local Rule 7.1(D), the undersigned certifies that the

foregoing document was prepared with Times New Roman 14 point, a font and point

selection approved by the Court in Local Rule 5.1(C).

                   Respectfully submitted this 25th day of January, 2021.


                                             /s/Olga Izmaylova
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                                             Georgia State Bar No. 666858


                                             /s/Sadeer Sabbak
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